        Case 1:22-cv-02235-JEB Document 31-4 Filed 03/28/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 NA’EEM BETZ,                                   )
                                                )
        Plaintiff,                              )
                                                )   Civil Case No. 1:22-cv-02235-JEB
 v.                                             )
                                                )
 SYNCHRONY BANK,                                )
                                                )
        Defendant.                              )
                                                )

                                    [PROPOSED] ORDER

       Before the Court is the Plaintiff’s Motion for Leave to File Third Amended Complaint and

Defendant Synchrony Bank’s Opposition thereto. Based on the parties’ briefing and the arguments

of counsel, the Court finds good cause for denying the Motion. It is therefore

       ORDERED that the Motion is hereby DENIED.

       IT IS SO ORDERED.




Dated: _________________________                     ____________________________________
                                                     HON.
